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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 THOMAS DEXTER JAKES,                                 Case No. 2:24-CV-1608-WSS

        vs.

 DUANE YOUNGBLOOD,
 JOHN DOE 1,
 JOHN DOE 2,
 JOHN DOE 3,                                          AFFIDAVIT OF JERMAINE JAKES
 JOHN DOE 4,                                          IN SUPPORT OF PLAINTIFF’S
 JOHN DOE 5,                                          OPPOSITION TO MOTION TO
 JOHN DOE 6,                                          DISMISS
 JOHN DOE 7,
 JOHN DOE 8,
 JOHN DOE 9, and
 JOHN DOE 10,

                             Defendants.


       JERMAINE JAKES, being duly sworn, states as follows:

       1.     T.D. Jakes is my father, I am his second eldest child. I live in Dallas, Texas. I write

this affidavit in support of my father’s lawsuit against Duane Youngblood and those with whom

Duane coordinated to smear my father in the podcasts titled “10.28.2024 - Larry Reid Live

INTERVIEWS Duane Youngblood: ‘The Abused become the Abuser,’” and “11.3.24 – Pt. 2 –

Larry Reid Live INTERVIEWS Duane Youngblood: ‘The Abused became The Abuser.’”

       2.     On the afternoon of November 3, 2024, I was looking at my social media feed and

noticed an advertisement promoted by the Larry Reid Live show/podcast for an interview with

Duane Youngblood labeled “The Abused becomes The Abuser.”

       3.     I was immediately concerned that Duane Youngblood might be putting himself in

harm’s way unknowingly by involving himself with Larry Reid.               Based on my personal
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experience, Larry Reid’s podcasts create controversy that can be very destructive to people’s lives.

Certainly, such has been my experience with Reid’s podcasts targeting and attacking my father

over a period of years.

       4.      That is the context in which on November 3, 2024 I sent a message to Duane

Youngblood – it was a cautionary warning to someone I know – Duane – to avoid Larry because

my experience is that Larry Reid distorts facts and is not truthful.

       5.      I had not talked to or seen Duane in over 30 years. However, I know Duane from

growing up in West Virginia. Our families were part of the same church community and Duane’s

brother, Richard Youngblood, was my youth minister.

       6.      When I sent the message to Duane, I had not seen the podcast. So, I did not know

what had been stated or that my father was the focus of the discussion. There was no reason for

me to say anything that I intended or meant to be threatening.

       7.      Duane responded to my message practically immediately stating that he received

the message and “it was noted.”




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